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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re                                                           Chapter 11

 Genesis Global Holdco, LLC, et al., 1                           Case No. 23-10063 (SHL)

           Debtors.                                              (Jointly Administered)


                     ORDER GRANTING APPLICATION
 AUTHORIZING AND APPROVING THE EMPLOYMENT OF SEWARD & KISSEL LLP AS
        SPECIAL LITIGATION COUNSEL TO THE OFFICIAL COMMITTEE
       OF UNSECURED CREDITORS NUNC PRO TUNC TO MARCH 30, 2023

          Upon consideration of the Application for Entry of an Order Authorizing and Approving the

Employment of Seward & Kissel LLP (“S&K”) as Special Litigation Counsel for the Official Committee of

Unsecured Creditors (the “Committee”), Nunc Pro Tunc to March 30, 2023 (the “Application”), 2 upon the

declaration of John R. Ashmead, an attorney with S&K, in support of the Application (the “Ashmead

Declaration”), and upon the declaration of Richard R. Weston, a co-chairperson and member of the

Committee, in support of the Application (the “Weston Declaration”); the Court being satisfied based on

the representations made in the Application and in the Ashmead Declaration that said attorneys represent

no interest adverse to the Committee, that they are disinterested persons as that term is defined under section

101(14) of the Bankruptcy Code, as modified by section 1103(b) of the Bankruptcy Code, and that their

employment is necessary and would be in the best interests of the Committee, and after due deliberation

and sufficient cause appearing therefore;

          IT IS HEREBY ORDERED THAT:

          1.          The Application is GRANTED as set forth herein.




    1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number (or equivalent identifier), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564);
    and Genesis Asia Pacific Pte. Ltd. (2164R). For the purpose of these chapter 11 cases, the service address for the
    Debtors is 250 Park Avenue South, 5th Floor, New York, NY 10003.
    2 Capitalized terms not otherwise defined herein shall have the meanings set forth in the Application.




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          2.          Pursuant to sections 328(a) and 1103(a) of the Bankruptcy Code, Bankruptcy Rule 2014(a)

and Local Rule 2014-1, the Committee is authorized to employ and retain S&K as special litigation counsel,

nunc pro tunc to March 30, 2023.

          3.          S&K shall be entitled to allowance of compensation and reimbursement of expenses upon

the filing and approval of interim and final applications pursuant to the Bankruptcy Rules, the Local Rules,

and such other orders as this Court may direct.

          4.          S&K shall apply for compensation and professional services rendered and reimbursement

of expenses incurred in connection with the Debtors’ chapter 11 cases in compliance with sections 330 and

331 of the Bankruptcy Code, and applicable provisions of the Bankruptcy Rules, the Local Rules, and such

other procedures as may be fixed by order of this Court. S&K shall be reimbursed for reasonable and

necessary expenses.

          5.          Further, S&K shall make a reasonable effort to comply with United States Trustee’s

requests for information and additional disclosures as set forth in the Guidelines for Reviewing Applications

for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in Larger

Chapter 11 Cases effective as of November 1, 2013.

          6.          S&K shall provide notice of any rate increases in the first monthly statement in which such

rate increases are applicable.

          7.          To the extent that the Application, Ashmead Declaration, or Weston Declaration are

inconsistent with this Order, the terms of this Order shall govern.

          8.          S&K shall use its best efforts to avoid any duplication of services provided by any of the

Committee’s other retained professionals in these chapter 11 cases.

          9.          Notice of the Application as provided therein shall be deemed good and sufficient notice

of the Application.

          10.         The Committee and the Debtors are authorized and empowered to take all actions necessary

to implement the relief granted in this Order.




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          11.         The terms and conditions of this Order shall be immediately effective and enforceable upon

its entry.

          12.         This Court retains jurisdiction to resolve all matters arising under or related to this Order,

and to interpret, implement, and enforce the provisions of this Order.


Dated:       May 16, 2023
             White Plains, New York



                                                               /s/ Sean H. Lane
                                                               THE HONORABLE SEAN H. LANE
                                                               UNITED STATES BANKRUPTCY JUDGE




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